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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                PORTLAND DIVISION

 HOWARD GROBSTEIN, as Chapter 7            )   Case No. 3:18-cv-01916-YY
 Bankruptcy Trustee for, BLANCA            )
 AGUIRRE,                                  )
                                           )   UNOPPOSED MOTION FOR
               Plaintiff,                  )   EXTENSION OF TIME TO SUBMIT
                                           )   PROPOSED PRETRIAL ORDER
               v.                          )
                                           )
 PORT OF PORTLAND, a Municipal             )
 Corporation, THOMAS T. KO, an             )
 individual, JEREMY HEPP, an individual,   )
 JACOB CASSITY, an individual, JERRY       )
 SALDIVAR, an individual, POLLIN           )
 HOTELS II, LLC, an Oregon limited         )
 liability company, doing business as      )
 SHERATON PORTLAND AIRPORT                 )
 HOTEL, STARWOOD HOTELS &                  )
 RESORTS WORLDWIDE, LLC, a                 )
 foreign limited liability company doing   )
 business as and CANTERBURY HOTEL          )
 GROUP, an Oregon company, doing           )
 business as FOUR POINTS BY                )
 SHERATON PORTLAND EAST,                   )
                                           )
               Defendants.                 )
 ___________________________________       )




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PROPOSED PRETRIAL ORDER
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                              CERTIFICATE OF CONFERRAL

       Pursuant to LR 7.1, counsel for the Plaintiff hereby certifies that he has conferred with

Port Defendants’ counsel, Beth Plass, and Defendant Pollin Hotels II, LLC’s counsel, Sean

Conner. Counsels for Defendants do not object to this motion.

       The Plaintiff, by and through her attorney, Christopher M. Edison, respectfully requests

an extension until October 1, 2021 to finalize the proposed pretrial order. The parties were

unable to finalize the pre-trial order by the current deadline of September 24, 2021, due to the

workload and schedules of the parties.

       This request is made pursuant to the provisions of Fed. R. Civ. Pro. 6(b). It is brought in

good faith, and Plaintiff’s Motion to Extend Discovery Deadlines.

       DATED this 23rd day of September, 2021.

                                                              s/Christopher M. Edison
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                                                             Christopher M. Edison,OSB#183318
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PROPOSED PRETRIAL ORDER
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7 Bankruptcy Trustee for Blanca Aguirre


                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                   PORTLAND DIVISION

HOWARD GROBSTEIN, as Chapter 7                  Case No. 3:18-cv-01916-YY
Bankruptcy Trustee for, BLANCA
AGUIRRE,                                        CERTIFICATE OF SERVICE
                 Plaintiff,

v.

PORT OF PORTLAND, a Municipal
Corporation, THOMAS T. KO, an individual,
JEREMY HEPP, an individual, JACOB
CASSITY, an individual, JERRY
SALDIVAR, an individual, POLLIN
HOTELS II, LLC, an Oregon limited liability
company, doing business as SHERATON
PORTLAND AIRPORT HOTEL,
STARWOOD HOTELS & RESORTS
WORLDWIDE, LLC, a foreign limited
liability company doing business as and
CANTERBURY HOTEL GROUP, an
Oregon company, doing business as FOUR
POINTS BY SHERATON PORTLAND
EAST,
Defendants.




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       I hereby certify that I have made service of the foregoing UNOPPOSED MOTION

FOR EXTENSION OF TIME TO SUBMIT PROPOSED PRETRIAL ORDER on the

counsel of the parties herein by electronic and regular mail on September 23, 2021.

       DATED this 23rd day of September 2021.

                                                    s/ Christopher M. Edison
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